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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

MADELINE PAVEK, ETHAN
SYKES, DSCC, and DCCC,
                                   Plaintiffs,

v.                                                   Case No. 0:19-cv-03000-SRN-DTS

STEVEN SIMON, in his official capacity
as the Minnesota Secretary of State,
                                Defendant,
DONALD J. TRUMP FOR
PRESIDENT, INC., REPUBLICAN
NATIONAL COMMITTEE,
NATIONAL REPUBLICAN
SENATORIAL COMMITTEE,
NATIONAL REPUBLICAN
CONGRESSIONAL COMMITTEE,
and REPUBLICAN PARTY OF
MINNESOTA,
         [Proposed] Intervenor-Defendants.


               MOTION TO INTERVENE AS DEFENDANTS
      Movants, Donald J. Trump for President, Inc., the Republican National

Committee, the National Republican Senatorial Committee, the National Republican

Congressional Committee, and the Republican Party of Minnesota, seek to intervene as

defendants in this case under Federal Rules of Civil Procedure 24(a) and (b). This

motion is accompanied by a memorandum of law that explains why Movants are

entitled to intervention as of right and permissive intervention.

      Because Movants seek to appeal this Court’s preliminary-injunction order

Movants respectfully ask for a decision on this motion by Friday, June 26, 2020.

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Dated: June 22, 2020                  Respectfully submitted,

                                        /s/ Richard G. Morgan  T
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                                      Donald J. Trump for President, Inc., RNC,
                                      NRSC, NRCC, and Republican Party of
                                      Minnesota




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